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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION
                                   CASE NUMBER:

A.B. Holling Construction, Inc.,
                                          Plaintiff,
                                                                    2:18-cv-988-PMD
v.
                                                               NOTICE OF REMOVAL
Sapelo Creative Insurance Solutions, LLC,

                                         Defendant.

TO:     THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH
        CAROLINA, CHARLESTON DIVISION:

        The Defendant, Sapelo Creative Insurance Solutions, LLC, would respectfully show in

support of its notice of removal that:

        1.      This action was commenced on or about March 16, 2018 in a Court of Common

Pleas for Charleston County, South Carolina. A copy of the Plaintiff's Summons and Complaint are

attached, there being no other, pleadings or orders served upon the Defendant in this action.

        2.      This action is one of a civil nature over which the District Courts of the United

States have original jurisdiction, said action having been brought by the Plaintiff against the

Defendant for negligent misrepresentation, breach of contract and breach fiduciary duty for the

Defendants alleged failure to advise Plaintiff regarding the lapse, nonrenewal and/or cancellation of

its workers comp policy resulting in damages sustained by Plaintiff when an employee of Plaintiff

was injured while no workers comp policy was in effect.

        3.      The amount in controversy exceeds Seventy-Five Thousand and No/100

($75,000.00) Dollars, exclusive of interest and costs, all of which will more fully appear from the

attached Complaint; there is complete diversity of citizenship and, therefore, this Court has

jurisdiction in accordance with Title 28 U.S.C. §1332(a)(1).



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        4.      Venue in this matter is proper in the Charleston Division in this Court in accordance

with Title 28 U.S.C. §1441(a).

        5.      Upon information and belief, at the time of the commencement of this action. The

Defendant is a limited liability company organized pursuant to the laws of the state of Georgia with

its principal place of business in the state of Georgia. The Plaintiff is a corporation organized and

existing pursuant to the laws of the state of South Carolina with its principal place of business in

Charleston, South Carolina, by which there is complete diversity of citizenship between the Plaintiff

and the Defendant.

        6.      The Defendant, Sapelo Creative Insurance Solutions, LLC, has filed no pleadings

in this action with the Court of Common Pleas for the State of South Carolina; however, the

Defendant's Answer is filed contemporaneously herewith.

        7.      The Defendant has furnished to the Clerk of Court for Charleston County a copy of

this Notice of Removal.

                                                MURPHY & GRANTLAND, P.A.


                                                s/J.R. Murphy
                                                J.R. Murphy, Esquire (Fed. I.D. 3119)
                                                Wesley B. Sawyer, Esquire (Fed. I.D. 11244)
                                                PO Box 6648
                                                Columbia, SC 29260
                                                (803) 782-4100
                                                Attorneys for the Defendant
Columbia, South Carolina
April 11, 2018




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